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22                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF ARIZONA
23

24   Mi Familia Vota, et al.,
                                                    Case No. 2:22-cv-00509-SRB
25                 Plaintiffs,
26          v.                                      MFV PLAINTIFFS’ OPPOSITION
                                                    TO MOTION TO INTERVENE BY
27   Katie Hobbs, et al.,                           THE REPUBLICAN NATIONAL
                   Defendants.                      COMMITTEE
28
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 1   Living United for Change in Arizona, et al.,
 2                Plaintiffs,

 3
           v.
     Katie Hobbs,
 4
                     Defendant,
 5                   and
 6   State of Arizona, et al.,
 7                   Intervenor-Defendants.
 8   Poder Latinx,

 9
                     Plaintiff,
            v.
10
     Katie Hobbs, et al.,
11
                     Defendants.
12
     United States of America,
13                   Plaintiff,
14          v.
15   State of Arizona, et al.,

16
                     Defendants.
     Democratic National Committee, et al.,
17
                     Plaintiffs,
18
            v.
19
     State of Arizona, et al.,
20                   Defendants,
21                   and
22   Republican National Committee,

23
                     Intervenor-Defendant.

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 1          Plaintiffs Mi Familia Vota and Voto Latino (together, “MFV Plaintiffs”), by and
 2   through counsel, file this Opposition to the Motion to Intervene as Defendant by the
 3   Republican National Committee (“RNC”) (ECF No. 101, the “Motion” or “Mot.”). For the
 4   reasons set forth below, MFV Plaintiffs respectfully request that the Court deny the RNC’s
 5   Motion. In the alternative, if the Court is inclined to grant intervention, MFV Plaintiffs
 6   request that it strictly limit the scope of the RNC’s intervention in these consolidated
 7   matters to permit the RNC to only brief issues not addressed by one of the other parties and
 8   require the RNC to seek leave to file independent briefs.
 9                                      INTRODUCTION
10          On June 23, 2022, the Court denied the RNC’s motion to intervene in the actions
11   brought by the Plaintiffs in Mi Familia Vota v. Hobbs, No. 2:22-cv-509 (“MFV”), and
12   Living United for Change in Arizona et al v. Hobbs, No. 2:22-cv-519 (“LUCHA”). Order
13   at 5-6, MFV, No. 2:22-cv-00509 (June 23, 2022), ECF No. 57 (“Order Denying RNC
14   Intervention”). Those cases are now consolidated, together with three other complaints,
15   before this Court. The RNC now seeks to intervene in all of them, including the MFV and
16   LUCHA actions in which this Court previous denied it intervention.
17          Nothing has changed, except that the Democratic National Committee and Arizona
18   Democratic Party (together, “DNC”) subsequently independently filed a complaint, and
19   the Court granted the RNC intervention to defend against the DNC’s claims, without
20   opposition from the DNC. Order, DNC v. Hobbs, No. CV-22-01369 (Aug. 24, 2022), ECF
21   No. 18. After that motion to intervene was granted, the DNC’s case was consolidated with
22   this action. Order, DNC, No. CV-22-01369 (Aug. 24, 2022), ECF No. 19. The RNC has
23   not sought reconsideration of the Court’s Order denying its motion to intervene against the
24   MFV or LUCHA Plaintiffs, either through a timely motion or now, nearly three months
25   later. And although the Court was clear in its June 23 Order about the circumstances under
26   which the RNC could seek to renew its motion—namely, if it “ha[s] substantiated concerns
27   about the adequacy of the defense or objections to the terms of a settlement,” Order
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            MFV PLAINTIFFS’ OPPOSITION TO RNC MOTION TO INTERVENE
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 1   Denying RNC Intervention at 6—the RNC does not argue its intervention is now justified
 2   on either of those clearly articulated grounds.
 3          Instead, the RNC seeks to leverage the fact that it was granted intervention on an
 4   unopposed motion to defend against the separate claims brought by the DNC, to argue it
 5   should now be granted intervention in all five of the consolidated cases before this Court.
 6   The RNC does not argue that its intervention is warranted by a significant change in the
 7   underlying substantive facts or controlling law upon which this Court’s well-reasoned June
 8   23 Order was based. Instead, the RNC simply contends that granting its motion would be
 9   more administratively efficient.
10          The RNC is wrong. It can easily limit its briefing to address the claims brought by
11   the party against whom its intervention has been permitted, without causing confusion or
12   inefficiency. If anything, granting the RNC’s motion would obstruct the efficiency of these
13   proceedings, expanding the already substantial amount of briefing that this Court has to
14   contend with, making discovery more expansive and burdensome, and resulting in more
15   complexity in this already complex case. It is the law of the case that the RNC cannot
16   intervene in the MFV or LUCHA actions, yet the RNC offers nothing to explain why this
17   Court should depart from that ruling, and fails to even address that doctrine at all. The
18   Court denied the RNC intervention in this case in a detailed, thoughtful, and well-
19   considered order following briefing in opposition from both the MFV and LUCHA
20   Plaintiffs. The RNC fails to identify a sufficient reason for this Court to revisit that
21   determination, and its new motion to intervene should be similarly denied.
22          If the Court nevertheless decides to grant the RNC’s Motion and allow it to intervene
23   in all five of the consolidated cases here, the Court should strictly limit the RNC’s role,
24   permitting it to only independently brief issues not addressed by the other parties to this
25   matter, and to only do so after seeking and obtaining leave from the Court. Courts in this
26   district have imposed similar strict limitations on intervenors (including the RNC itself) in
27   elections matters. Given the number and variety of parties involved in this case as plaintiffs
28   and defendants, the issues the RNC is concerned about are highly likely to receive full and

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            MFV PLAINTIFFS’ OPPOSITION TO RNC MOTION TO INTERVENE
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 1   thorough development by the original parties. In the unlikely event the RNC deems the
 2   parties’ briefing insufficient, it is appropriate to require it to request leave to address any
 3   such matters separately, to guard against its intervention impeding the efficient resolution
 4   of this case.
 5                                        BACKGROUND
 6          Mi Familia Vota filed the original complaint in this action, challenging H.B. 2492,
 7   on March 31, 2022. Compl., MFV (Mar. 31, 2022), ECF No. 1. The same day, the LUCHA
 8   Plaintiffs filed a separate lawsuit challenging H.B. 2492. Compl., LUCHA (Mar. 31, 2022),
 9   ECF No. 1. Nearly six weeks later, on May 12, the RNC, National Republican Senatorial
10   Committee, Republican Party of Arizona, Gila County Republican Party, and Mohave
11   County Republican Central Committee (collectively the “Republican Entities”) moved to
12   intervene in both matters. Mots. to Intervene, MFV, No. 2:22-cv-00509 (May 12, 2022),
13   ECF No. 24, and LUCHA, No. 2:22-cv-00519 (May 12, 2022), ECF No. 23.1 On May 17,
14   this Court consolidated LUCHA with MFV. Order, MFV, No. 2:22-cv-00509 (May 17,
15   2022), ECF No. 39.
16          On June 23, after full briefing on the Republican Entities’ motions to intervene in
17   MFV and LUCHA (which the Court considered together after the matters were
18   consolidated), Resp., LUCHA, No. 2:22-cv-00519 (May 26, 2022), ECF No. 26; MFV, No.
19   2:22-cv-00509, ECF Nos. 46 (May 26, 2022) and 49 (June 2, 2022), the Court denied the
20   motions “without prejudice so that Movants may seek intervention if they have
21   substantiated concerns about the adequacy of the defense or objections to the terms of a
22   settlement.” Order Denying RNC Intervention at 5-6. At no point has the RNC, nor any of
23   the other Republican Entities, filed any motion asking the Court to reconsider that ruling.
24          On August 15, the DNC filed a separate lawsuit challenging H.B. 2492. Compl.,
25   DNC (Aug. 15, 2022), ECF No. 1. The next day, the RNC alone filed an unopposed motion
26   to intervene in that case. Unopposed Mot. to Intervene, DNC (Aug. 16, 2022), ECF No. 10.
27
     1
28    On May 13, Mi Familia Vota amended its complaint to add co-plaintiff Voto Latino. See
     Mi Familia Vota, No. 2:22-cv-00509 (May 13, 2022), ECF No. 38.
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 1   On August 24, this Court issued a short order granting the RNC’s unopposed intervention
 2   into the DNC case, and then separately consolidated DNC into MFV later that same day.2
 3          On September 6, the RNC filed the instant Motion to Intervene in the now five
 4   consolidated cases. MFV, No. 2:22-cv-00509 (Sept. 6, 2022), ECF No. 101. The RNC
 5   asserts that, by virtue of its unopposed intervention into DNC, it should be allowed
 6   intervention in all the consolidated cases, including the two in which it was previously
 7   denied intervention after full briefing. See generally Mot.
 8                                      LEGAL STANDARD
 9          Motions for reconsideration are governed by Local Civil Rule 7.2(g) and will
10   ordinarily be denied “absent a showing of manifest error or a showing of new facts or legal
11   authority that could not have been brought to [the Court’s] attention earlier with reasonable
12   diligence.” LRCiv 7.2(g). Such motions “shall be filed no later than fourteen (14) days
13   after the date of the filing of the Order that is the subject of the motion.” Id.
14          The law of the case is a discretionary doctrine which “mandates that courts follow
15   a prior decision ‘unless (1) the decision is clearly erroneous and its enforcement would
16   work a manifest injustice; (2) intervening controlling authority makes reconsideration
17   appropriate; or (3) substantially different evidence was adduced at a subsequent trial.’”
18   Mitchell v. United States, No. CV-09-08089-PCT-DGC, 2018 WL 4467897, at *3 (D. Ariz.
19   Sept. 18, 2018), aff’d, 958 F.3d 775 (9th Cir. 2020) (quoting Alaimalo v. United States,
20   645 F.3d 1042, 1049 (9th Cir. 2011)).
21          To intervene as of right pursuant to Rule 24(a)(2), a proposed intervenor must file a
22   timely motion and demonstrate that: (1) they have a significantly protectable interest in this
23   action; (2) disposition of the action may impair or impede their ability to protect that
24   interest; and (3) their purported interest is not adequately represented by existing parties to
25   the litigation. Perry v. Proposition 8 Off. Proponents, 587 F.3d 947, 950 (9th Cir. 2009).
26   A party seeking intervention “bears the burden of showing that all the requirements for
27   2
      By this point, both Poder Latinx v. Hobbs, No 2:22-cv-1003, and United States. v.
28   Arizona, No. 2:22-cv-1124, had also been consolidated into MFV. The RNC has not
     previously moved to separately intervene in either of those cases.
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 1   intervention have been met.” United States v. Alisal Water Corp., 370 F.3d 915, 919 (9th
 2   Cir. 2004) (citation omitted). “Failure to satisfy any one of the requirements is fatal to the
 3   application.” United States v. Arizona, No. CV 10-1413-PHX-SRB, 2010 WL 11470582,
 4   at *1 (D. Ariz. Oct. 28, 2010) (citing Perry, 587 F.3d at 950).
 5          To justify permissive intervention under Rule 24(b), a party seeking intervention
 6   must file a timely motion and demonstrate: (1) independent grounds for jurisdiction and
 7   (2) that their claims share a question of law or fact with the main action. Miracle v. Hobbs,
 8   333 F.R.D. 151, 156 (D. Ariz. 2019) (quoting S. Cal. Edison Co. v. Lynch, 307 F.3d 794,
 9   803 (9th Cir. 2002)).
10                                          ARGUMENT
11          The Court should deny the RNC’s Motion. When the Court denied the RNC’s prior
12   motion to intervene in the MFV and LUCHA cases, it clearly articulated the circumstances
13   under which the RNC could seek to renew its motion, stating: “Movants may seek
14   intervention [again in the future] if they have substantiated concerns about the adequacy of
15   the defense or objections to the terms of a settlement.” Order Denying RNC Intervention
16   at 5-6. The RNC’s Motion fails to argue, much less establish, that either circumstance is
17   met. Nor could it: as reflected by the briefing that presaged the State’s recently filed motion
18   to dismiss (as well as the motion to dismiss itself), the Attorney General is vigorously
19   defending this matter. Nor have the parties entered into any settlement agreement to which
20   the RNC objects. The Motion also does not satisfy the standards applicable to a motion for
21   reconsideration or explain why the law of the case doctrine does not govern. Finally, the
22   RNC’s arguments about administrative efficiency are not sufficient to support intervention
23   and, in any event, are inaccurate. In the alternative, should the Court grant the motion to
24   intervene, it should strictly limit the RNC’s participation to solely briefing issues not
25   addressed by the other parties to this matter subject to the Court’s approval.
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            MFV PLAINTIFFS’ OPPOSITION TO RNC MOTION TO INTERVENE
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 1    I.    The RNC fails to meet the standard this Court previously set out for renewal
 2
            of its request for intervention.

 3          In denying the RNC’s prior motion to intervene, the Court left open the possibility

 4   that the RNC could renew its request for intervention, but only if it could later show that it

 5   “ha[s] substantiated concerns about the adequacy of the defense or objections to the terms

 6   of a settlement.” Order Denying RNC Intervention at 6. In the new Motion, the RNC does

 7   not (and cannot) argue that either of those situations has occurred. The Attorney General

 8   has continued to robustly defend this action, filing a motion to dismiss last week seeking

 9   dismissal of all these consolidated cases. See ECF No. 127 (Sept. 16, 2022). The RNC’s

10   failure to satisfy the preconditions that the Court clearly set for renewal of its motion to

11   intervene is reason enough to deny its motion.

12   II.    The RNC does not satisfy the requirements for a motion for reconsideration,
            and the law of the case separately forecloses its Motion.
13
            While the RNC has not satisfied the preconditions that the Court identified for
14
     renewal of its request for intervention, it has also not sought reconsideration of that prior
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     order, nor does it explain why the law of the case does not preclude its new Motion.
16
            To prevail on a motion for reconsideration, a party must show that the Court’s prior
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     order exhibited “manifest error” or demonstrate “new facts or legal authority that could not
18
     have been brought to [the Court’s] attention earlier with reasonable diligence.” LRCiv
19
     7.2(g). The law of the case doctrine requires a similar showing for a Court to revise a prior
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     decision. See Alaimalo, 645 F.3d at 1049 (explaining the law of the case doctrine requires
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     that courts follow a prior decision “unless (1) the decision is clearly erroneous and its
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     enforcement would work a manifest injustice; (2) intervening controlling authority makes
23
     reconsideration appropriate; or (3) substantially different evidence was adduced at a
24
     subsequent trial.”).
25
            As explained in the MFV Plaintiffs’ opposition to that prior motion to intervene, the
26
     RNC cannot demonstrate that it has any significantly protectable interest warranting
27
     intervention; instead, it relies on generalized interests that are insufficient to justify
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 1   intervention under Rule 24. See MFV Pls.’ Opp. to Intervention at 6-8 (May 26, 2022),
 2   ECF No. 46. Nor can the RNC overcome the strong presumption that Defendants—Arizona
 3   government officials—adequately represent the generalized interests that the RNC seeks
 4   to intervene to protect. Id. at 10-12. After carefully considering the parties’ arguments, the
 5   Court correctly came to that conclusion and properly denied the Republican Entities’
 6   motion to intervene. See generally Order Denying RNC Intervention.
 7          Nothing has changed on that front. As the Court previously found, it is still the case
 8   that “circumstances weigh against” granting intervention where, like here, “the government
 9   is representing its constituency, and despite [the RNC’s] arguments to the contrary, [the
10   RNC] and Defendants share the same objective: defending the constitutionality of H.B.
11   2492.” Id. at 3 (citing Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893,
12   898 (9th Cir. 2011), Proposition 8 Off. Proponents, 587 F.3d at 950, Yazzie v. Hobbs, No.
13   CV-20-08222-PCT-GMS, 2020 WL 8181703, at *3 (D. Ariz. Sept. 16, 2020), and Miracle,
14   333 F.R.D. at 156). As the parties sit here today, Defendants continue to aggressively
15   defend the challenged laws and have filed a motion to dismiss all of the claims brought by
16   all of the Plaintiffs. ECF No. 127.
17          And while it is true that the Court also noted that it was inclined to deny permissive
18   intervention because allowing the RNC to intervene “would needlessly inject partisan
19   politics” into the action, Order Denying RNC Intervention at 5 (cleaned up), and the DNC
20   has since brought its own affirmative claims challenging H.B. 2492, it also remains true
21   that the MFV Plaintiffs are nonpartisan entities who bring these claims based on H.B.
22   2492’s impediment to voting rights. The Supreme Court has emphasized that consolidation
23   should be understood “not as completely merging the constituent cases into one, but instead
24   as enabling more efficient case management while preserving the distinct identities of the
25   cases and the rights of the separate parties in them.” Hall v. Hall, 138 S. Ct. 1118, 1125
26   (2018). Accordingly, each consolidated case “retains its independent character,” id., and
27   the mere fact that the MFV case has now been consolidated with one brought by a political
28   committee does not transform MFV’s claims into ones that require the partisan viewpoint

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 1   of the RNC.
 2          Nor has the law substantively changed since the Court issued its order denying the
 3   RNC’s earlier motion to intervene. While the RNC does not cite it here, in its motion to
 4   intervene in the DNC action the RNC claimed that Berger v. North Carolina State
 5   Conference of the NAACP, 142 S. Ct. 2191 (June 23, 2022), altered the presumption of
 6   adequate representation. See RNC Unopposed Mot. to Intervene at 4-5, DNC, ECF No. 10.
 7   That case involved a challenge to a voter-identification law brought against North
 8   Carolina’s governor and members of the state board of elections, in which legislative
 9   leaders from the state’s House and Senate sought to intervene as defendants consistent with
10   a North Carolina law that expressly authorized them to do so. Berger, 142 S. Ct. at 2198.
11   The Court held simply that when “a duly authorized state agent seeks to intervene to defend
12   a state law,” the presumption of adequate representation that may apply when a private
13   litigant seeks to intervene on the side of the government is not applicable, and intervention
14   of those “duly authorized state agent[s]” should be permitted. Id. at 2204 (emphasis
15   added). The RNC, however, is not a state agent, and it is certainly not “duly authorized”
16   by the State of Arizona to defend against a challenge to Arizona state law.3
17          It remains the law in the Ninth Circuit that adequate representation is presumed
18   when a private litigant—such as the RNC—seeks to intervene on the side of the
19   government, and that when that litigant shares the same objective as a party, they must
20   make a “compelling showing” to show inadequacy of representation. See Order Denying
21   RNC Intervention at 3 (citing cases). Thus, there is no intervening change in the law that
22   would justify this Court’s reconsideration of the prior motion to intervene or a need to vary
23   from the law of the case doctrine regarding this Court’s previous decision to deny the RNC
24   intervention.
25

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     3
       The Berger Court explicitly declined to rule on the appropriateness of such a presumption
27   outside of that limited context, stating “to resolve this case we need not decide whether a
28   presumption of adequate representation might sometimes be appropriate when a private
     litigant seeks to defend a law alongside the government or in any other circumstance.” Id.
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 1   III.   The RNC’s intervention will impede, not promote, the efficient resolution of
 2
            this matter.

 3          Finally, the RNC’s contention that the Court should permit intervention in all the

 4   consolidated cases because it would be a “logistical nightmare” if the RNC were permitted

 5   to only defend against the claims made by the DNC, Mot. at 3, is not credible. Courts and

 6   parties in litigation routinely navigate complex matters in which different parties are

 7   making or responding to different claims, without incident, much less the nightmarish

 8   results that the RNC projects. This action already presents such a case, in which different

 9   plaintiffs raise different statutory and constitutional challenges to two different Arizona

10   laws. If anything, granting the RNC’s Motion and permitting it to intervene to defend

11   against every single claim brought by every single plaintiff in all of these consolidated

12   cases threatens to add far more complexity and impose far more burdens on the Court and

13   the parties than the current scenario, where the RNC has been permitted to intervene to

14   address the claims brought by the DNC alone. The undersigned is confident in the ability

15   of RNC counsel to figure out how to limit its briefing and discovery to the claims raised

16   by the DNC.

17          If the RNC is right and the only realistic result is that its involvement in this case in

18   that limited capacity will introduce a “logistical nightmare,” that is not a reason to find that

19   the RNC should be allowed to intervene in more cases. If anything, it would be reason to

20   reconsider the RNC’s intervention entirely. None of the plaintiff groups other than the

21   DNC were able to be heard when the RNC sought unopposed intervention in DNC because

22   that case had not yet been consolidated with the MFV Plaintiffs’ and other plaintiffs’ cases.

23   Yet, the RNC now submits that its unopposed intervention there—rather than its earlier

24   opposed and rejected intervention in MFV—should dictate its relationship to this matter. If

25   the RNC is to have only one relationship as regards all the consolidated matters, it should

26   be the one the Court determined was appropriate after considering all of the parties’

27   positions on full briefing, not the unopposed motion that resulted in the RNC’s intervention

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 1   in the DNC case.4
 2   IV.    If the RNC is permitted to intervene, the Court should exercise its discretion
 3          to strictly limit the scope of its intervention.

 4          In the alternative, if the Court is persuaded to allow the RNC to intervene in all the
 5   consolidated matters, it should exercise its power to limit the scope of that intervention.
 6   Courts in this district have repeatedly imposed restrictions on the participation and role of
 7   intervenors in election cases on the side of both plaintiffs and defendants. For example, in
 8   two recent election challenges, Judge Rayes and Judge Lanza ruled that intervenors,
 9   including the RNC, could only brief issues not addressed by one of the other parties and
10   only after seeking leave to do so. See Ariz. Democratic Party v. Hobbs, No. CV-20-01143,
11   2020 WL 6559160, at *1 (D. Ariz. June 26, 2020) (recounting the “strict limitations the
12   Court has imposed to avoid redundant briefing and delay” on intervenors, including the
13   RNC); Mi Familia Vota v. Hobbs (“Mi Familia II”), No. CV-21-01423, 2021 WL 5217875,
14   at *2 (D. Ariz. Oct. 4, 2021) (“impos[ing] similar restrictions” on briefing by intervenors,
15   including the RNC).
16          If the RNC is permitted to intervene in all the consolidated matters, similar
17   restrictions are warranted. The consolidated matters already have multiple sovereign
18   entities on both the plaintiff and defense sides, more than a dozen individual plaintiffs and
19   plaintiff organizations, and nearly twenty state and local officials as Defendants. This Court
20   has already taken steps to limit the amount and scope of briefing given the number and
21   variety of parties involved. See Order at 3, MFV, No. 2:22-cv-00509 (Sept. 2, 2022), ECF
22
     4
23     The fact that the RNC was previously denied intervention in two of the consolidated cases
     here before it was granted unopposed intervention in the DNC case readily distinguishes
24   this scenario from Lewis v. Knudson, Doc. 63, No. 3:20-cv-00284 (W.D. Wis. Mar. 31,
25
     2020), and Swenson v. Bostelmann, Doc. 38 at 5, No. 20-cv-00459 (W.D. Wis. June 23,
     2020), which the RNC misleadingly claims “fit[] this case to a T.” Mot. at 3. In those
26   actions, the Court permitted the RNC to intervene in a consolidated action when it had
     previously been granted intervention in one of the matters that became consolidated. The
27   RNC was not first denied intervention in Lewis and Swenson, which is effectively what
28   occurred here. As such, Lewis and Swenson offer no guidance for the current scenario and
     certainly do not “fit[] this case to a T.” Mot. at 3.
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 1   No. 100. If the Court permits the RNC to intervene in all the consolidated matters,
 2   restrictions such as those imposed by other courts in this district would be warranted
 3   because they would (1) align with this Court’s previous limitations on briefing for the
 4   actual parties to these matters and (2) avoid duplicative and unnecessary briefing.
 5   Accordingly, if the Court grants the RNC intervention in all these consolidated matters,
 6   MFV Plaintiffs request that the Court order that they can only brief issues not addressed
 7   by one of the other parties and must seek leave to file independent briefs.
 8
                                           CONCLUSION
 9
            For these reasons, the Court should deny the RNC’s motion to intervene. In the
10
     alternative, if the Court grants intervention, it should impose strict limitations, limiting any
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     briefing by the RNC to only address issues not addressed by one of the other parties and
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     only after seeking leave from the Court to file independent briefs.
13

14
     Dated: September 20, 2022                   Respectfully submitted,
15

16
                                                 /s/ Daniel A. Arellano
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